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 5
                               UNITED STATES DISTRICT COURT
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                              Case No. CR19-159-RSL

10                         Plaintiff,                        ORDER DENYING MOTION
11                    v.                                     TO COMPEL UNREDACTED
                                                             EMAILS
12    PAIGE THOMPSON,
13                         Defendant.
14
15         This matter comes before the Court on defendant Paige Thompson’s “Motion to Compel
16 Unredacted Emails” (Dkt. # 297). Having reviewed the submissions of the parties and the
17 remainder of the record, the Court finds as follows:
18         Defendant moves the Court to compel the government to disclose unredacted email
19 threads involving two of its proposed expert witnesses, FBI Special Agent Waymon Ho and
20 John Strand. The government objects on the ground that the redacted portions are non-
21 discoverable government-attorney work product.
22         Federal Rule of Criminal Procedure 16(a)(2) exempts from discovery “reports,
23 memoranda, or other internal government documents made by an attorney for the government or
24 other government agent in connection with investigating or prosecuting the case.” Fed. R. Crim.
25 P. 16(a)(2). Notwithstanding this work-product protection, “materials on which a proposed
26 expert witness relies must be produced to Defendants in discovery.” United States v. Fort, 472
27 F.3d 1106, 1121 (9th Cir. 2007).
28
     ORDER GRANTING MOTION TO COMPEL
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 1         Defendant argues that the redacted material “provide[s] valuable context for
 2 understanding Ho’s and Strand’s responses and can communicate important information to
 3 them.” Dkt. # 297 at 2. Defendant provides an example: in one email, Special Agent Ho writes,
 4 “I couldn’t find specific references to cryptocurrency mining though.” Id. (quoting Dkt. # 298 at
 5 8). Defendant argues that “[b]ecause of the government’s redactions, the defense is left to guess
 6 at what and where Ho reviewed to draw his conclusion, and therefore Ho’s response is open to
 7 many possible meanings.” Id. Defendant’s interpretation, however, is not supported by the
 8 record. It is clear from the remainder of the email to which defendant refers that Special Agent
 9 Ho is discussing a list of AWS IDs from the “Abuse Report PDF.” See Dkt. # 298 at 8.
10         The Court accepts the government’s assurance that it is “well aware of its discovery
11 obligations to the defense and has carefully adhered to them.” Dkt. # 304. Given that the
12 defense has pointed to no example where it is apparent that an expert relied on a redacted
13 portion of an email, the Court declines to compel the government to produce unredacted emails.
14         For all of the foregoing reasons, IT IS HEREBY ORDERED that defendant’s Motion to
15 Compel Unredacted Emails (Dkt. # 297) is DENIED.
16         DATED this 8th day of June, 2022.
17
18                                                  A
                                                    Robert S. Lasnik
19                                                  United States District Judge
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     ORDER GRANTING MOTION TO COMPEL
     CAPITAL ONE DATA - 2
